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   crvu. counr or THE cm or NEW YORK
   COUNTY or NEW YORK:
                                   HOUSING PART C


                                             Petitioner.                 L& T   Index #: 63974/14
                                                                         DECISION/ORDER

                                                                   X

  Recitation, as requiredby CPLR @2219 (3),
  todismiss respondent's nffu-rnative defensesofanth
                                                   d
                                                    e papers considered in the review of petiIioner’s
                                                                                                        motion
  summary judgment and use and occupancy,            coumerclaims, to strike respondenfs jury
                                                and respondenfs cross-motion to dismiss          demand,     for
 the alternative, to consolidate this                                                       the petition, or  in
                                      case with a nonpayment proceeding between
                                                                                    the parties under Index            #

 Papers
                                                                                              Numbered
 Petitioner’s Motion,
 Respondent’: Cross-



          Petitioner moves for an order to dismiss respondent's
                                                                aflirrnativc
                                                                          defenses and counterclaims, to
su-ike respondent's jury demand, for summary
                                                judgment, and for use and occupancy,
                                                                                         and respondent
cross-moves to dismiss the petition, or in the alternative, Io
                                                               consolidate this case with a nonpayment
proceeding between the parties under Index
                                                 #61405/14, in this -holdover proceeding based
                                                                                                    upon
expiration of lease in an unregulated,
                                       condominium apartment, in which petitioner seeks possession
                                                                                                        of
200 Rector Place, Apt, #351’, New York, New York
                                                       10280. Petitioner is represented by counsel and
respondent is pro se. AB/er oral argument and
                                               in consideration of all papers submitted,
                                                                                          the court finds
and decides as follows:

        Petitioner’s motion   is granted in part and denied in pan and respondent’s
                                                                                      cross-motion   is   denied
in its entirety for the reasons set forth
                                            below.
       The subject premises is an unregulated, condominium apartment which
                                                                                respondent has rented
pursuant to iiee-market leases since
                                     2002. The initial rent was $2,265.00 and has increased
                                                                                                    at    a   fairly
steady pace in yearly lease renewals to $3,395.00
                                                  in the May, 2013 lease which expired April 30,
                                                                                                 2014.




                                                                                                                           LD001790
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 answer contains evidence of only two complaints       to   the City (311) on February 18, 2014
                                                                                                and Fcbnrary
 24, 2014, for heat and hot water which were
                                             made     after he was notified petitioner would not be renewing
his lease, not before, and although respondent
                                                   sent many emails to petitioner's managing
                                                                                                agent from
2010 through 2012 complaining about the
                                              intermittent lack of hot water without notice, and was still
offered renewal leases in 2010, 2011, 2012 and
                                                         2013, respondent shows documentation of two
complaints to petitioner regarding lack of wine: in
                                                     his building between May, 2013 (the beginning of
                                                                                                         his
most recent lease) and January
                                 24, 2014, the date of the letter notifying him of petitioner’:
                                                                                                   intent    not to
renew,    as well as several   complaints   to  petitioner regarding accounting errors during
                                                                                                    this period.
Respondent also alleges in his answer to having posted
                                                                articles critical of petitioner on his website,
BatteryPark.TV, during this period. Although it does not appear
                                                                          from his answer that respondent has
alleged or proven facts which trigger the rebuttable
                                                         presumption that the landlord acted in retaliation
                                                                                                              in
RPL 223-b(5), respondent's allegations are sufEcient to allow
                                                                        him to raise the defense of retaliatory
eviction. It shall be leh to the trial court to decide whether respondent has
                                                                                  met his burden to prove this
defense, and if so, whether petitioner can provide a credible explanation of
                                                                                   a non-retaliatory motive for

its acts in rebuttal.

       Respondent's second affirmative defense, "no legal fees are due,” shall stand.
                                                                                       Pursuant             to   the
terms of the lease, Paragraph 17E, and in accordance with controlling case law,
                                                                                the prevailing         party in
this proceeding may recover legal fees. As of the time of the writing of his answer, no prevailing
                                                                                                   party
existed, and therefore no legal fees were due at that time.
         Respondent’s third afnrmntive defense,                old case as closed," is stricken as it is    not an
afHrmative defense to this proceeding. Nevenheless, this Court granted petitioner’s motion
                                                                                           to withdraw
                                                      2




                                                                                                                       LD001791
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  J.   Hahn. 2/26/IS)
             Respondents fourth atftrmative defense,
                                                     "Tetitlonef            is no   longer in capacity   to   sue Dr. Greer,”
  is   stricken. Petitioner is Mariners Cove Site
                                                  B Associates.    Respondent’: assertion, even iftrue, that
                                                                                                                 an
 employee of petitioner is no longer employed
                                                   by petitioner, fails to allege facts
                                                                                         sufficient to prove or call
 into question petitioner’s standing to bring this
                                                    proceeding.
          With respect to respondenfs caunterclairns,
                                                          Paragraph 26 (Giving up right to trial by jury and
 counterclaim") of the original lease between the parties states:
               Both Tenant and Owner agree to give up the right to
                                                                         a trial by jury in a court
        proceeding or counterclaim on any matters concerning this                                    action,
        Tenant and Owner, as Tenant and Owner, or Tena.nt’s rue or             Lease,  t
                                                                                       .he  relationship  of
            . B. If Owner begins any court action or
                .
                                                                            o ccupan cy  of the  Apartment.
        Tenant be compelled to move out, Tenant proceeding              against Tenant which asks t.hat
                                                        cannot make a counterclaim unless Tenant is
        claiming that Owner has not done what Owner
                                                             is supposed to do about the condition of
        the Apartment or the Building which has rendered
                                                               the same dangerous or hazardous to the
        life, health and/or safety of Tenant.

          In light of this provision, all of respondenfs
                                                         counterclaim: are stricken except the                      Fourth,
alleging breach of warranty of habitability. The balance
                                                            of responI:lent’s counterclaims are severed and
preserved for a plenary proceeding, should respondent
                                                        choose to pursue them.
        The Court denies petitioner's motion for surmnary judgment
                                                                         as there exist triable issues of fact
regarding respondent’s at’&t-mative defense of retaliatory eviction.
                                                                      However, the Court grants petitioner
an award of any and all unpaid use and
                                          occupancy from April, 2014 througt March, 2015, to be paid
directly to petitioner (respondent is specifically ordered         not to   deposit this money in court) by April lo,
201 S, as well as use and occupancy, pendente lite,      at    the rate of the last lease in effect, without
                                                                                                             prejudice,
by the tenth day of each month from April. Z0l5 through the date of the trial
                                                                              decision. Respondenvs
cross-motion to dismiss     is   denied for failure to state   a   legal lmis upon which the Court could           gr-ant its
motion. Further, respondent’s cross-motion to consolidate this matter with the nonpayment
                                                                                             proceeding
between the parties under L & T Index #61405/14 is denied, consistent with
                                                                             the order of this Court in
that matter (I. Hahn, 2/26/15).




                                                                                                                                LD001792
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       The foregoing
                     constitutes 1;_hc-decisio__n.and order of this court.
Dated: New York-, New York
       March 13, 2015
                                                                     HON ARLENE H. I-IAI-IN, J.I-LC.




                                                                                                       LD001793
